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           ORDERED in the Southern District of Florida on May 21, 2020.




                                                         Laurel M. Isicoff
                                                         Chief United States Bankruptcy Judge
___________________________________________________________________________




                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                         www.flsb.uscourts.gov

           In re: Marty L. Taylor-Bey                     Case No: 19-23123-LMI

           Debtor                       /                 Chapter 13


                 AGREED ORDER SUSTAINING DEBTOR'S AMENDED OBJECTION TO
                                   CLAIM OF BAYVIEW LOAN SERVICING




                    Debtor filed an Amended Objection to Claim of Bayview Loan Servicing (DE37)

           and Bayview Loan Servicing filed its Response (DE40). The Court having been advised

           that debtor and creditor have reached an agreement it is ORDERED that:
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        1.     The Objection is sustained with 20 days for the secured creditor Bayview

Loan Servicing to file an amended proof of claim with a total pre-petition arrearage of

$14,481.13 and a post-petition payment of $551.11. Bayview Loan Servicing also

agrees to withdraw its April 7, 2020 Notice of Postpetition Mortgage Fees, Expenses

and Charges totaling $1,200.


                                     # # #




Submitted By:
LEGAL SERVICES OF GREATER
MIAMI, INC.
Carolina A. Lombardi
Florida Bar No. 0241970
4343 West Flagler Street, Ste. 100
Miami, FL 33134
Telephone/Facsimile: (305) 438-2427
Primary Email: Clombardi@legalservicesmiami.org;
Alt. Email: Sfreire@legalservicesmiami.org

The party submitting the order shall serve a copy of the signed
order on all required parties and file with the court a certificate
of service conforming with Local Rule 2002-1(F).
